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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Caroline T. Retzios
                                   Plaintiff,
v.                                                     Case No.: 1:23−cv−03338
                                                       Honorable Jeremy C. Daniel
Epic Systems Corporation
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 7, 2024:


        MINUTE entry before the Honorable Jeremy C. Daniel: Plaintiff's motion for
entry of final judgment [30] is granted. The motion hearing is stricken. Mailed notice(vcf,
)




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